  Case 21-05127-lrc       Doc 7   Filed 03/03/22 Entered 03/03/22 14:12:25        Desc Main
                                   Document     Page 1 of 3
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                                                               U.S. BANKRUPTCY      co
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                      IN THE UNITED STATES BANKRUPTCY               u-
                                                                ui.wkr:f]R    ,
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                    Atlanta Division       -3 MO: 14

  In Re:
    CYNTHIA                                                         f L- 111- Y CI FRI

    ANDERSON-GRAYSON Debtor                 CASE NO. 20-62169-LRC
                                            CHAPTER 7


    S. GREGORY HAYS,
    Chapter 7 Trustee for the Estate of
    Cynthia Anderson-Grayson,               ADV. PRO. NO.

    Plaintiff
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           Ptki eta


    DEFENDANT'S MOTION FOR ADDITIONAL EXTENSION OF TIME TO
              RESPOND TO ADVERSARY COMPLAINT


  COMES NOW, named Defendant, Michael L. Grayson, who respectfully files

  Defendant's Motion for Additional Extension of Time To Respond to Adversary

  Complaint and shows this Honorable Court as follows:

        Due to the nature of the allegations made against Defendant, Defendant has
Case 21-05127-lrc    Doc 7    Filed 03/03/22 Entered 03/03/22 14:12:25      Desc Main
                               Document     Page 2 of 3


been seeking legal counsel. Defendant's Mother, Cynthia Anderson-Grayson, is

very ill from chemotherapy, and suffers from stage 4 cancer, and the fact that

Defendant is being accused of fraud, he does not feel he can adequately represent

himself.

      Defendant interviewed a couple of attorneys, but so far, he has not found one

with time to get up to speed, or were incompetent for such representation.

Defendant would like the additional time to continue to attempt to locate and retain

competent legal counsel. Thirty to Forty-five days would be very helpful in the

search for competent legal counsel.

      Respectfully submitted, this 2nd day of March. 2022,



                                                         c/W
                                                     Michael L. Grays
                                                     2435 Haverford
                                                      Decatur, GA 30032

                             CERTIFICATE OF SERVICE


      I hereby certify, that I have this day, served a true and correct copy of the

Foregoing upon the Plaintiff, through their attorney on file, via postage prepaid,

USPS First Class Mail and addressed as follows.

Michael J. Bargar
Case 21-05127-lrc     Doc 7   Filed 03/03/22 Entered 03/03/22 14:12:25   Desc Main
                               Document     Page 3 of 3


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